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11   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
22   KRIKOR J. MESHEFEJIAN (SBN 255030)                                  FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
44   Los Angeles, California 90067                                               DEC 13 2017
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com                      CLERK U.S. BANKRUPTCY COURT
                                                                            Central District of California
66   Attorneys for Chapter 11 Debtors
                                                                            BY Ogier      DEPUTY CLERK



77   and Debtors in Possession

88                               UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
99                                 SAN FERNANDO VALLEY DIVISION

10
10   In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                         Jointly administered with:
11
11   ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
     corporation1,
12
12                                                       Chapter 11 Cases
13
13            Debtor and Debtor in Possession.
     ____________________________________
14
14   In re:                                              ORDER GRANTING APPLICATIONS
                                                         FOR APPROVAL OF FEES AND
15
15   ICPW Liquidation Corporation, a Nevada              REIMBURSEMENT OF EXPENSES
     corporation2,                                       OF PROFESSIONALS EMPLOYED IN
16
16                                                       THESE CHAPTER 11 CASES
17
17            Debtor and Debtor in Possession.
     ____________________________________
18
18
          Affects both Debtors                           DATE:     December 12, 2017
19
19                                                       TIME:     1:30 p.m.
       Affects ICPW Liquidation Corporation, a           PLACE:    Courtroom “303”
20
20                                                                 21041 Burbank Blvd.
     California corporation only
21                                                                 Woodland Hills, CA
21
       Affects ICPW Liquidation Corporation, a
22
22   Nevada corporation only
23
23
24
24
25
25
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     1
27
27       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
     2
         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

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1            A hearing was held on December 12, 2017, at 1:30 p.m., at the above-referenced location
2     for the Court to consider the applications for approval of fees and reimbursement of expenses (the
3
      “Applications”) of the professionals who have been employed in the chapter 11 bankruptcy cases
4
      of ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad
5
      Performance Wear Corporation, a California corporation (“ICPW California”), and ICPW
6

7     Liquidation Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear

8     Corporation, a Nevada corporation (“ICPW Nevada” and collectively with ICPW California, the

9     “Debtors”). Appearances were made at the hearing on the Applications as set forth on the record
10    of the Court.
11
             The Court, having considered the Applications and all of the pleadings filed in support of
12
      and in opposition to the Applications, and the oral statements made by the respective
13
      professionals on the record of the Court, and good cause appearing,
14

15           HEREBY ORDERS AS FOLLOWS:

16           1.       Levene, Neale, Bender, Yoo & Bill L.L.P. (“LNBYB”), bankruptcy counsel for

17    the Debtors, is allowed on an interim basis fees in the amount of $531,944.50 and expenses in the
18
      amount of $39,376.99 for total fees and expenses of $571,321.49 incurred during the period of
19
      September 8, 2017 through November 20, 2017. LNBYB is authorized to be paid this sum of
20
      $571,321.49 by these bankruptcy estates.
21
             2.       Stubbs Alderton & Markiles, LLP (“SAM”), special corporate and securities,
22

23    special trademark, and special litigation counsel for the Debtors, is allowed on an interim basis

24    fees in the amount of $112,763.00 and expenses in the amount of $6,484.77 for total fees and
25    expenses of $119,247.77 incurred during the period of September 8, 2017 through November 20,
26
      2017. SAM is authorized to be paid this sum of $119,247.77 by these bankruptcy estates.
27
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1            3.      Craig Hallum Capital Group LLC (“C-H”), financial advisor to the Debtors, is
2     allowed on a final basis fees in the amount of $461,250 and expenses in the amount of $23,189.08
3
      for total fees and expenses of $484,439.08. C-H is authorized to be paid this sum of $484,439.08
4
      by these bankruptcy estates.
5
             4.      Dentons US LLP (“Dentons”), counsel to the Official Committee of Equity
6

7     Holders, is allowed on an interim basis fees in the amount of $222,730.30 and expenses in the

8     amount of $4,714.24 for total fees and expenses of $227,444.54 incurred during the period of

9     September 22, 2017 through October 31, 2017. Dentons is authorized to be paid this sum of
10    $227,444.54 by these bankruptcy estates.
11
             5.      Michael D. Schwarzmann (“MDS”), financial advisor to the Official Committee
12
      of Equity Holders, is allowed on an interim basis fees in the amount of $14,535.00 and expenses
13
      in the amount of $143.77 for total fees and expenses of $14,678.77 incurred during the period of
14

15    October 21, 2017 through November 3, 2017.          MDS is authorized to be paid this sum of

16    $14,678.77 by these bankruptcy estates.

17           6.      Brown Rudnick LLP (“BR”), counsel to the Official Committee of Unsecured
18
      Creditors, is allowed on an interim basis fees in the amount of $157,319.60 and expenses in the
19
      amount of $3,526.84 for total fees and expenses of $160,846.44 incurred during the period of
20
      September 22, 2017 through November 9, 2017. BR is authorized to be paid this sum of
21
      $160,846.44 by these bankruptcy estates.
22

23           7.      LNBYB, which is serving as the Escrow Agent in these cases, is authorized to pay

24    all of the allowed fees and expenses authorized to be paid in this Order out of the $16,354,050.82
25    that LNBYB is holding in a segregated trust account from the proceeds of the Debtors’ recent sale
26
      of their assets (the “Sale Proceeds”).
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1            8.      In accordance with the Debtors’ motion filed on November 21, 2017 as Docket
2     Number 240, which was granted by the Court at the hearing held on December 12, 2017, ICPW
3
      California is authorized to upstream to ICPW Nevada a sufficient amount of the Sale Proceeds to
4
      enable ICPW Nevada to pay all of the allowed fees and expenses of the professionals employed
5
      only by ICPW Nevada (i.e., Dentons and MDS), and to pay 10% of the allowed fees and expenses
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7     of LNBYB (as an allocation of LNBYB’s allowed fees and expenses agreed to by LNBYB and

8     the United States Trustee).

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          Date: December 13, 2017
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